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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
 vs.                                               §           Case No. 4:05cr173.8
                                                   §           (Judge Schneider)
 MELVIN DEMON GRIFFIN a.k.a. L.D.                  §

                 MEMORANDUM ADOPTING REPORT AND
         RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

         Came on for consideration the above-referenced criminal action, this Court having heretofore

 referred the request for the revocation of Defendant’s supervised release to the United States

 Magistrate Judge for proper consideration. Having received the report of the United States

 Magistrate Judge pursuant to its order, this Court is of the opinion that the findings and conclusions

 of the Magistrate Judge are correct, and adopts same as the findings and conclusions of the Court.

 It is therefore,
     .
         ORDERED that the Magistrate Judge's Report is ADOPTED as the opinion of the Court.

 It is further

         ORDERED that Defendant’s supervised release is hereby REVOKED. It is further

         ORDERED that Defendant is sentenced to a term of imprisonment of fifteen (15) months.

 The Court recommends that Defendant be housed in the Bureau of Prisons, Seagoville Unit.


        SIGNED this 16th day of July, 2009.




                                                          ____________________________________
                                                          MICHAEL H. SCHNEIDER
                                                          UNITED STATES DISTRICT JUDGE
